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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                      AT JACKSON

LOUISE GRAVES by and through             )
CHUCK GRAVES,                            )
                                         )
        Plaintiff,                       )
                                         )
v.                                       )      No. 1:22-CV-02296-STA-jay
                                         )      Chief District Judge S. Thomas Anderson
AUTO OWNERS INSURANCE                    )      Magistrate Judge Jon A. York
COMPANY,                                 )
                                         )
        Defendant.                       )

                                  SCHEDULING ORDER

        Pursuant to Local Rule 16.2, a scheduling conference was held on August 4, 2022.

Toby Gammill, counsel for plaintiff, and Brenden Holbrook, counsel for defendant. Prior to

the scheduling conference, on July 29th the parties met and conferred in compliance with

Federal Rule of Civil Procedure 26(f). The following dates are established as the final

deadlines for:

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): August 3, 2022.

MOTIONS TO JOIN PARTIES: August 31, 2022.

MOTIONS TO AMEND PLEADINGS: August 31, 2022.

MOTIONS TO DISMISS: October 7, 2022.

ALTERNATIVE DISPUTE RESOLUTION:

(a) ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a): December 16, 2022.

(b) SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c)3:
Mediator's Name: John Housel.




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COMPLETING ALL DISCOVERY: April 7, 2023

(a) WRITTEN DISCOVERY: Shall be served within 45 days before the deadline to complete
discovery.

(b) DEPOSITIONS: April 7, 2023.

EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

(a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF PROOF) RULE
26(a)(2) EXPERT INFORMATION: January 13, 2022.

(b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE 26(a)(2) EXPERT
INFORMATION: February 17, 2023.

(c) EXPERT WITNESS DEPOSITIONS: April 7, 2023

MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS:
May 5, 2023.

SUPPLEMENTATION UNDER RULE 26(e)(2): April 7, 2023

FILING DISPOSITIVE MOTIONS: May 5, 2023.

OTHER RELEVANT MATTERS:
As required by Local Rule 26.1(e), the parties have conferred as to whether they will seek
discovery of electronically stored information (“e-discovery”) and have not reached an
agreement regarding e-discovery and will comply with the default standards described in
Local Rule 26.1(e) until such time, if ever, the parties reach an agreement and the Court
approves the parties’ e-discovery plan.

Pursuant to agreement of the parties, if privileged or protected information is inadvertently
produced, the producing party may, by timely notice, assert the privilege or protection and
obtain the return of the materials without waiver.

No depositions may be scheduled to occur after the discovery deadline. All discovery
requests or other discovery-related filings that require a response must be filed sufficiently
in advance of the discovery deadline to enable the opposing party to respond by the time
permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served within 45days of the default or service
of the response, answer, or objection that is the subject of the motion. However, if such
default or service occurs within 30 days before the discovery deadline, the motion to compel
must be filed within 30 days after such default or service


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This case is set for a jury] trial. The pretrial order deadline, pretrial conference date, and trial
date will be set by separate Order. The parties anticipate the trial will last approximately 4-5
days.

The parties are ordered to engage in ADR by the ADR deadline. Pursuant to Local Rule
16.3(d), within 7 days of completion of ADR, the parties shall file a notice confirming that the
ADR was conducted and indicating whether it was successful or unsuccessful, without
disclosing the parties’ respective positions at the ADR.

Pursuant to Local Rule 7.2(a)(1)(A), all motions, except motions pursuant to Fed. R. Civ. P.
12, 56, 59, and 60, shall be accompanied by a proposed order in a word processing format
sent to the ECF mailbox of the presiding judge.

Pursuant to Local Rule 7.2(a)(1)(B), the parties are required to consult prior to filing any
motion (except motions filed pursuant to Fed. R. Civ. P. 12, 56, 59, and 60).

The opposing party must file a response to any opposed motion. Pursuant to Local Rule
7.2(a)(2), a party’s failure to respond timely to any motion, other than one requesting
dismissal of a claim or action, may be deemed good grounds for granting the motion.

Neither party may file an additional reply to any motion, other than a motion filed pursuant
to Fed. R. Civ. P. 12(b) or 56. As provided by Local Rule 7.2(c), if a party believes that a
reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required within seven days of
service of the response. Pursuant to Local Rules 12.1(c) and 56.1(c), a party moving for
summary judgment or to dismiss may file a reply within 14 days after being served with the
response in opposition to the motion.

The parties do not consent to trial before the Magistrate Judge.

This order has been entered after consultation with the parties. Absent good cause shown,
the deadlines set by this order will not be modified or extended.

                                      Respectfully submitted,



                                      _s/Brenden T. Holbrook_________________________
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                                       _s/Toby Gammill            _______________________
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                                       Chuck Graves

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this ___________ day of August, 2022, a true and correct
copy of the foregoing PROPOSED SCHEDULING ORDER was filed electronically. Notice
of this filing will be sent by operation of the court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U. S. Mail.
Parties may access this file through the court’s electronic filing system.

Toby Gammill, Esquire
Gammill Law Group
1911 Dunbarton Drive
Jackson, MS 39216
                                       _s/Brenden T. Holbrook_________________________
                                       BRENDEN T. HOLBROOK

/BTH


                                                     s/S. Thomas Anderson
                                                     Chief United States District Court Judge

                                                     Date: 8/4/2022


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